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From: Gary Stern <garym.stern@nara.gov>
Date: August 17, 2022 at 11:21:08 AM EDT
To: John Solomon <                             >
Cc: Kash Patel <                   >, John Laster <john.laster@nara.gov>
Subject: Re: Former President Donald J. Trump - Designees


John, sorry for the delay in responding, since, as you discerned, I have been on leave this week.

As per his January 20, 2021, memo, Chief of Staff Meadows returned the "bulk of the binder" to DOJ and
instructed them to conduct a Privacy Act review and "release the remaining material with redactions
applied," thus intending that those documents remain with DOJ (which, fyi, is a routine practice for
agency records that are undergoing declassification or similar review by other agencies or the White
House). The White House did, however, retain copies of the documents as Presidential records,
although, as we've noted, not in an easily discernible manner (and, of course, without the Privacy Act
redactions). In any event, I have asked DOJ to complete its review as quickly as possible, so that we can
all have a fully releasable set of records. But, as previously noted, the documents are now the subject of
a FOIA lawsuit with DOJ.

We also greatly appreciate how much you value NARA and the work that we do to preserve and provide
access to the permanent records of the U.S. Government. To that end, it would be really helpful if you
could help to clear up the confusion and mis-statements that President Trump has made about the
Obama Presidential records that NARA is preserving at our archival facility near Chicago. As you may
know if you've ever done research at our Presidential Libraries across the country, NARA always
assumes and retains complete control of the Presidential records at the end of each administration,
which is what we did when former President Obama left office. Could you please explain to President
Trump that NARA, not Obama, moved the unclassified records to Chicago (and that we kept
the classified records in the DC area), where we continue to maintain and provide access to them.

Thanks,
Gary


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On Mon, Aug 15, 2022 at 4:36 PM John Solomon <                                     > wrote:
Gary,

 Hoping I can get an answer on this for my lawyers.

Thanks,

John



On Sun, Aug 14, 2022 at 7:41 AM John Solomon <                                    > wrote:
Gary,

   The declassified Russia records seem to meet the definition of a presidential record under 44 USC
Chapter 22 Section 2201. They were provided to the president as part of his official job. He reviewed
them. White House staff helped prepare the declassifications. He announced them. As such they no
longer seem to meet the exemption of records from another federal agency. The fact that the precursor
classified records remain in the collection also seems to verify their standing as PRA materials.

  Do you agree? If so, what efforts have been made to retrieve them from DOJ? Has DOJ refused?

  Appreciate your efforts and those of your staff. As a journalist I know how valuable NARA is to
preserving history and keeping Americans informed.

John

Sent from my iPhone


On Aug 10, 2022, at 4:27 PM, Gary Stern <garym.stern@nara.gov> wrote:


John, sorry for the delay in responding to your query about the Russian declassified documents. It's
important to clarify that, as a designated PRA representative of President Trump, you may receive
access to the Presidential records of the Trump Administration that have been transferred to NARA,
which date from January 20, 2017 to January 20, 2021.

Alex Cannon has represented President Trump on PRA matters (along with Justin Clark) only since the
summer of 2021, principally with respect to the notification and review process in response to special
access requests. Accordingly, there would not be any Trump Presidential records between NARA and
Alex Cannon.

FYI, in my June 23 email to you (which is below within this email thread), I noted that "last fall Justin
Clark, another PRA representative of President Trump, also asked us for a copy of this declassified




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binder." Alex Cannon was cc'd on Justin's request and our response. I am not aware of any other
communications that would exist between NARA and Alex about this matter.

Thanks,
Gary


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On Wed, Aug 10, 2022 at 3:24 PM John Solomon <                                 > wrote:
Gary:

 Checking back on this. It’s time sensitive from a news perspective. Can you accommodate?

John


Sent from my iPhone


On Aug 9, 2022, at 8:48 PM, John Solomon <                                > wrote:


Gary, John:

  My research indicates there may be a new wrinkle to the Russian declassified documents. As part of
my authorized access, I would like to see all correspondence between NARA and attorney Alex Cannon
between December 2020 and July 31, 2022. I think the information will have significant value to the
public regarding current events. Can that be arranged?

Thanks

John



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On Wed, Jul 27, 2022 at 8:19 AM Gary Stern <garym.stern@nara.gov> wrote:
Kash, sorry this is taking so long to resolve. Our security office is still waiting to hear back from either the
Defense Counterintelligence and Security Agency's Vetting Risk Operations Center (VROC) or the
NSC. They asked if you could give us the specific name and contact information to a security officer at
the most recent organization for which you had a clearance, which might help to speed this along.

Thanks,
Gary


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garym.stern@nara.gov




On Tue, Jul 26, 2022 at 6:27 PM Kash Patel <                              > wrote:
Gary,

Where are we? These delays are unacceptable and easily solvable. Im again following up on matter that
I have been formally named to by former president Trump, to provide the American people with
accountability. Is anyone at DOJ/FBI interfering or slowing my access down? Thanks much

Kash


On Jul 20, 2022, at 15:47, Kash Patel <                             > wrote:

Thanks for the update, please go to DoD and the NSC at the White House, those being my last employers
in govt, they would be best suited to verify my clearance (they would not be held at ODNI) but anyone
with access to Scattered Castles can easily verify the clearance and who holds it. Thanks much

Kash




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On Jul 20, 2022, at 3:00 PM, Gary Stern <garym.stern@nara.gov> wrote:

Kash, I wanted to give you an update on where things stand with verifying your clearance. Our
personnel security office could not find an active clearance in the systems that they have direct access
to. Since you previously worked for the ODNI, they have reached out to their contacts in the intelligence
community to see if it is being held there, but have not yet received a definitive response. To speed up
this process, please let us know if there is a specific agency or POC that we should be contacting?

Thanks,
Gary


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On Mon, Jul 18, 2022 at 6:02 PM Kash Patel <                       > wrote:
And once you run the search in your data bases (one that is run solely by the government) you will have
all the information you need. That’s the point of the databases highlighted and used by every agency in
government Once this is complete, please let me know. Thanks much

Kash


On Jul 18, 2022, at 4:52 PM, Gary Stern <garym.stern@nara.gov> wrote:

Yes, we're trying to figure that aspect out as well, since the normal process requires the agency that
issued or holds your clearance to pass it to us. Thus, we still need to know which agency holds your
clearance, even as our security office checks those systems. Assuming your clearance does pass, we can
provide you access on Thursday at 11:00.

Thanks,
Gary



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On Mon, Jul 18, 2022 at 4:29 PM Kash Patel <                       > wrote:
Actually, that’s only part of the communications your security team and you received. The rest states:

 they (NARA) could look up your clearance in DISS or Scattered Castles and your need to know came
from working directly for President Trump.

Per policy- In order to access anything – you would need a clearance and a need to know. You have
both of these based on your position with President Trump.

If you are going to provide a correspondence on this matter and directly site a communication, please
do not cut out the important, substantive portion that resolves the matter. As you can see, you can
validate my clearance and my need to know is satisfied. The only question that remains is why I am
getting poor/incorrect information, and why you haven’t used the data bases to verify my clearance,
when that is clearly within your agencies ability (its literally how every agency in government validates
said clearances). Again, I expect to be reviewing these records tomorrow since the data bases search to
validate my clearance is instantaneous. Direct your security office accordingly and stop blocking my
access. Thanks much

Kash



On Jul 18, 2022, at 4:09 PM, Gary Stern <garym.stern@nara.gov> wrote:

Kash, actually, our security office had not heard anything from Buffy Rodland at Espire, so they reached
out to her earlier today. She responded that "Mr. Patel is not currently an Espire employee or currently
attached to any Espire contracts. His visit to your location is not in support of any of the Espire
contracts/Espire activities."

Accordingly, please let us know with what agency your clearance remains active?



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Thanks,
Gary


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On Mon, Jul 18, 2022 at 3:58 PM Kash Patel <                              > wrote:
Gary,

Ive been informed your security team should have validated my clearance and I’m now able to come
review the records. Please confirm and Id like to come by tomorrow. Thanks much

Kash


On Jul 15, 2022, at 11:14 AM, Gary Stern <garym.stern@nara.gov> wrote:

Kash, once your clearance has been passed to our personnel security office, we can schedule a time for
you to come in and review the records in our SCIF.

Thanks,
Gary

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On Fri, Jul 15, 2022 at 10:58 AM Kash Patel <                             > wrote:
Gary,

Thank you for the attachment and information below. However, there is a clear distinction between
information what was declassified and information that maybe held up at DOJ due to Privacy Act
considerations (which can be waived by President Trump, if not already done so). Thanks for confirming
you have some documents at NARA from said binder, irrespective of what markings appear on them, as
President Trump’s rep I am entitled to review them (especially since I have an active TS/SCI). This is the
review I have been trying to set up for a month now. Please instruct your office to allow me access to
these documents next week for my review. And since this has been an ongoing process, why have you
not already consulted DOJ/FBI about the classification status of these documents in your possession?
Had you done so last Fall, we’d at least have an answer to the questions you pose which purport to be
an impediment to simple progress and transparency for the American people. Please immediately seek
the consultation needed from DOJ/FBI and in the interim there is nothing prohibiting my access to
review the documents. I hope you will take these actions expeditiously. Lastly, whether the binder is
governed by a different regulation, it still falls under a presidential record as a federal record of the 45th
President. Thanks much

Kash


On Jul 14, 2022, at 10:02 PM, Gary Stern <garym.stern@nara.gov> wrote:

I forgot to attach the Meadows memo, so here it is now.


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On Thu, Jul 14, 2022 at 9:57 PM Gary Stern <garym.stern@nara.gov> wrote:
Kash, I appreciate your questions and understand why this issue is a bit confusing. As I noted in my
email to you and John on June 23, the original binder was returned to DOJ on January 20, 2021, per the
Mark Meadows memo to the Attorney General, which I am reattaching. As you know, the Meadows
memo directed DOJ to “expeditiously conduct a Privacy Act review under the standards that the
Department of Justice would normally apply, redact material accordingly, and release the remaining
material with redactions applied.”
While we in fact do have multiple copies of documents that appear to be from the binder, there was no
clear organization or delineation to the various documents in the box. As we had also previously
explained to other PRA representatives of President Trump who asked about the same documents last
fall, we could not clearly determine from the contents of the box which documents constituted the final
version. Based on a cursory review last fall, our staff found instances of the same document being
redacted differently. In addition, some documents did not have the required declassification marking.
As you know, under his January 19, 2021 declassification order, President Trump did not declassify the
documents in the binder in full. Rather, he “determined to accept the redactions proposed for
continued classification by the FBI in that January 17 submission. I hereby declassify the remaining
materials in the binder.” For the reasons described above, we cannot be certain as to which redactions
properly apply.
When, as is the case here, there is uncertainty with respect to the status of classified information, we
are obligated under the Classified National Security Information procedures to confirm from an
authorized official that the information is unclassified before we may disclose it. (Note that NARA has
no declassification authority.) Thus, since the information in the documents seems to be mostly from
the DOJ and FBI, we would at least need to consult with them.
It’s my understanding that the DOJ Office of Information Policy is processing the binder in response to
the FOIA request and lawsuit, as described in the Joint Status Report that I shared with you
yesterday. Note as well that, under the Presidential Records Act, NARA maintains and preserves the
Presidential records of the Trump Administration that were transferred to us at the end of the
President’s term. The binder that was sent back to DOJ is a federal record of that agency, which is
managed separately under the Federal Records Act.
Thanks,
Gary

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On Wed, Jul 13, 2022 at 5:46 PM Kash Patel <                           > wrote:
Gary,

I will send over security clearance as instructed below. However, there are a few immediate questions
you can kindly answer for us, as we are the named representatives for President Donald J. Trump at the
National Archives regarding these matters:

1) Now that you have confirmed the binder of documents we requested does in fact exist, and a copy is
over at DOJ- how can it be this very set of documents we identified for you and were declassified by
President Trump, are now under some sort of classification review at DOJ. A sitting president of the
united states has absolute declassification authority under the law. President Trump executed that
authority while President. Whether it is subject to a FOIA is irrelevant and dodges the main request- for
myself and John Solomon as named representatives to see and have access to it. Who countermanded
and reversed a valid execution of declassification by President Trump and based on what legal
authority? As you are the National Archives, this binder of documents also has to sit with you. Whether
there is an outstanding FOIA request is irrelevant. I would like to see these documents next week in
NARA spaces, since they have been declassified.

2) What equity holding agencies must you consult with regarding the binder in question which was
already declassified? Again, how is that a set of documents declassified by a sitting president have some
how been bureacractically bounced around to withhold his named representatives access to them.
Upon who’s authority and what law was this decision made, overriding the actions of a sitting President
(Trump)?

3) Who at the Department of Justice is exercising control/access decisions relating to this binder that
override presidential action (and again, on what basis)?Please simply ask DOJ to make you a copy for
NARA purposes, which is required by law, for you to keep on hand at NARA. This is a simple step, one
that I am shocked has not been made in accordance with the regulations and laws regarding
preservations and promulgation of documents, especially those declassified by a sitting president of the
United States.

Please provide these answer by COB on Thursday July 14. This process is for the American people to gain
access to declassified documents. The binder in question has been completely declassified by
presidential action and NARA is the lead agency in charge, not DOJ. There can be no delay, and no
reason to send us to DOJ for these documents. Please take action as requested.

Thank you kindly for your time,

Regards,




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Kash Patel


On Jul 12, 2022, at 8:17 PM, Gary Stern <garym.stern@nara.gov> wrote:

Kash, here's what your sponsoring agency needs to do:

Instructions for NARA sponsors to provide to Visitor Authorization Request
(VAR) senders
All security clearances for visitors to NARA must be submitted directly from the visitor’s
security office to personnelsecurity@nara.gov using one of the following
secure/encrypted methods:
         • S/MIME .p12 encryption;

             • Secure File Transfer Protocol (SFTP); or

             • Sending the VAR via email as a password-protected attachment with the
             password in a separate email.
Thanks,
Gary

On Tue, Jul 12, 2022, 5:40 PM Kash Patel <                       > wrote:
Please provide the POC and direct contact for your security office to have my clearances passed to.
Thanks much

Kash


On Jul 12, 2022, at 17:07, Gary Stern <garym.stern@nara.gov> wrote:


John, sorry for the delay in getting back to you about your proposals. For your background information,
under the Presidential Records Act, the Trump Presidential records are not available for public access
requests and review, under either FOIA or the Mandatory Declassification Review (MDR) procedures,
until five years after the President leaves office. See 44 U.S.C. 2204(b)(2)(A).

However, the binder that is now in DOJ custody is subject to FOIA, and I have been informed by DOJ that
it is the subject of an ongoing FOIA request and lawsuit, which means that DOJ is currently conducting
the type of review that you have requested. The lawsuit is Judicial Watch v. DOJ, and attached is the
most recent Joint Status Report that was filed with the court on May 31, 2022. It is my understanding
that the "approximately 880 pages [referred] for consultation to other federal agencies and agency
components, including the Federal Bureau of Investigation ('FBI')," is a reference to the
binder. Accordingly, it probably makes most sense for you to try to obtain a copy of whatever the DOJ is
releasing in this case.

We appreciate Kash's willingness to review the box containing the classified records, assuming his
security clearance remains active (it would have to be passed to our personnel security office from the



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agency that still holds the clearance). Note, however, that we must consult with equity holding agencies
to make declassification decisions.

Thanks,
Gary


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On Thu, Jul 7, 2022 at 10:33 AM John Solomon <                                 > wrote:
Gary:

 I hope you had a great 4th of July weekend. I have done some research and believe the pile of
documents NARA possesses from the DOJ and FBI Russia case are the documents that President Trump
declassified. They were copied from the binder in preparation to be released to the news media on the
morning of Jan. 20. I'd like to suggest a two-tiered approach to securing their release for public research:

1.) I would like to request a Mandatory Declassification Review for that pile of documents. This hopefully
will be relatively simple since DOJ has the binder and can confirm if the documents in your possession
are the declassified records.

2.) Kash Patel has an active TS/SCI clearance. My research indicates he reviewed the declassified
documents and he should be able to tell you whether the bunch are the documents from the binder that
were covered by the president's declassification order.

Let me know your thoughts on this possible approach.

Thanks

John




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On Fri, Jun 24, 2022 at 3:56 PM Gary Stern <garym.stern@nara.gov> wrote:
John, the declassification memo was published in the Federal Register, so you can see it online here:
https://www.federalregister.gov/documents/2021/01/25/2021-01717/declassification-of-certain-
materials-related-to-the-fbis-crossfire-hurricane-investigation

Thanks,
Gary


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On Fri, Jun 24, 2022 at 3:07 PM John Solomon <                                 > wrote:
Gary:

 I'd like to ask as an authorized representative for a copy of President Trump's declassification order.
Can you send it my way?

Thank you,

John



On Thu, Jun 23, 2022 at 12:35 PM Gary Stern <garym.stern@nara.gov> wrote:
John, fyi, last fall Justin Clark, another PRA representative of President Trump, also asked us for a copy of
this declassified binder. Upon conducting a search, we learned that the binder had been returned to the
Department of Justice on January 20, 2021, per the attached memo from Chief of Staff Mark Meadows
to the Attorney General, titled "Privacy Act Review of Certain Declassified Materials Related to the FBI's
Crossfire Hurricane Investigation."

Accordingly, we do not have the binder containing the declassified records. As we explained to
Justin, what we were able to locate is a box that contains roughly 2700 undifferentiated pages



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of documents with varying types of classification and declassification markings, but we could
not be certain of the classification status of any of the information in the box. We are therefore
obligated under Executive Order 13526 to treat the contents of the box as classified at the
TS/SCI level.

Please let me know if you have any questions or would like to discuss further.

Sincerely,
Gary

PS, per his request, I have moved Evan off to bcc

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On Wed, Jun 22, 2022 at 7:35 PM John Solomon <                                  > wrote:
Gary:

  Hope all is well. We understand the authorization letter from former President Trump has arrived. We
really appreciate your help.

  We'd like to make our first request. There is a binder of documents from the Russia investigation that
the President declassified with an order in his last few days in office. It's about 10 inches thick. It
includes documents such as the last two approved FISA warrants the FBI sought in their
fully declassified state, the debriefing documents, tasking orders and validation reports for confidential
human sources Christopher Steele and Stefan Halper and other documents. We'd like to make a set of
copies -- digital or paper format -- of every document that was declassified by his order and included in
the binder.

 Do you think that is something that could be made available Friday for pickup? If it's easier to chat by
phone my cell is              .

Thanks,




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John

On Fri, Jun 17, 2022 at 4:25 PM Gary Stern <garym.stern@nara.gov> wrote:
Evan, thanks for the heads up that President Trump will be sending us a letter authorizing Kash and John
as his Presidential Records Act (PRA) representatives.

Kash and John, once we receive the letter from the President, we can begin the process of providing you
with access to Trump Presidential records. But before we can do so, you will need to describe the
specific records you want to review. Our archival staff will then be able to conduct a search for the
records and determine their volume and format (i.e., paper or electronic), after which we can make
arrangements for providing access. Accordingly, it will not be possible to provide any access this coming
week. Once we have a sense of what it is you want to see, we can figure out how long it will take us to
make them available to you. It would also be useful if you could let us know the purpose of your access -
- e.g., are you doing research for a book on the Trump presidency, or is there a specific project that you
are focused on?

Please feel free to contact me directly, at 240-475-2816, if you would like to discuss further.

Sincerely,
Gary


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On Fri, Jun 17, 2022 at 2:30 PM Evan Corcoran <ecorcoran@silvermanthompson.com> wrote:

Gary:




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Because of his schedule today and tomorrow, former President Donald J. Trump will sign a letter on
Sunday afternoon, June 19, 2022, informing the Acting Archivist of the United States that he has
designated Kash Patel and John Solomon (copied) to be his NARA representatives.



I will transmit that letter to the Archivist and you (and John Laster) via email when I receive it.



Kash and John would like to begin work reviewing documents at the Archives on Tuesday, June 21, 2022.
I will leave it to the three of you to work out logistics (and feel free to move me to bcc).



Many thanks and have a good long weekend.



With best regards,



Evan



M. Evan Corcoran

Partner




400 East Pratt Street

Baltimore, Maryland 21202
direct 410.385.9114 | main 410.385.2225 | fax 410.547.2432

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<Meadows Memo to AG re Declassification of FBI Binder.01.20.2021.pdf>




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